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                      EXHIBIT F
  Case 1:22-cv-00520-MAV-JJM                      Document 383-7                Filed 05/20/25             Page 2 of 24


From:            Joel B. Rudin
To:              Meredith Vacca; Jennifer C. Persico; John Lyle
Cc:              Russ III, Hugh M.; Sahasrabudhe, Peter A.; Brian C. Mahoney; Firsenbaum, Ross; Perio, Ryanne; Hanft, Gideon A.;
                 David Rudin; Partha Sharma; Timothy Hoover; Spencer Durland; Serena M. Kemnitzer; Kirstie A. Means; Thomas R.
                 Southard
Subject:         RE: Darryl Boyd and John Walker v. City of Buffalo, et al.
Date:            Tuesday, November 26, 2024 5:14:21 PM
Attachments:     image001.png
                 image002.png
                 external.png




Dear Judge Vacca,

On behalf of Plaintiffs, I write to inform the Court that earlier today the Buffalo Common Council
approved the settlement between Plaintiffs, Darryl Boyd and John Walker, and the City of
Buffalo. I am advised by Peter Sahasrabudhe, one of the City’s attorneys, that the settlement is
now final, pending execution of the settlement papers, which we will try to execute as quickly as
possible. In the meantime, because the Court is still considering whether to consolidate the two
actions for trial, I write to briefly address the impact of this settlement on the issue of
consolidation. We believe the settlement further strengthens why there should be separate
trials, and counsels against consolidation, for at least two reasons.

First, prior to this settlement, to the extent there was the potential for overlapping witnesses and
evidence, that was almost entirely due to Plaintiffs’ claims against the City, as Mr. Sahasrabudhe,
counsel for the City, pointed out in his submission of October 24. But now that these claims are
out of the case, the potential for overlapping witnesses and evidence is far more limited. As
noted in our submission of October 18, Plaintiffs’ claims against the County will focus on
whether, in light of the record of each of their separate criminal trials, the Brady violations and
summation misconduct in connection with each separate criminal case was a substantial cause of
a conviction that otherwise likely would not have occurred. Because there were different
witnesses at each trial, different records of what was disclosed, and different theories of defense,
the prejudice or materiality question will have to be separately analyzed for each Plaintiff. If all
this is presented at one civil trial, the risk of jury confusion will be substantial. While there may
be some overlapping evidence, any such overlapping evidence would represent a far smaller
portion of the whole than when Plaintiffs’ claims against the City Defendants remained to be
tried. The County’s October 25 response did not dispute that these differences exist – it instead
argued that the risk of juror confusion could be mitigated by cautionary instructions. However,
when the differing evidence goes to the heart of the materiality and prejudice questions for each
Plaintiff, and thus the very heart of what each trial is about, a jury instruction will be insufficient
to eliminate the significant risk of confusion.

Second, with only claims against the County remaining, each of Plaintiffs’ trials will be
significantly shortened, probably by nearly a week, both because the relevant evidence will be
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narrower in scope and there will be one-third fewer attorneys examining the witnesses,
objecting, making legal argument, and making opening and closing statements. Thus, the burden
on the Court and the parties of two trials will be materially reduced.

Thank you for your Honor’s consideration.

Respectfully submitted,

Joel B. Rudin
Law Offices of Joel B. Rudin, P.C.
152 West 57th Street
New York, NY 10019
(212) 752-7600

Co-Counsel for Plaintiffs Boyd and Walker



From: Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>
Sent: Wednesday, November 20, 2024 11:18 AM
To: Jennifer C. Persico <jpersico@lippes.com>; Joel B. Rudin <jbrudin@rudinlaw.com>; John Lyle
<John_Lyle@nywd.uscourts.gov>
Cc: Russ III, Hugh M. <HRuss@hodgsonruss.com>; Sahasrabudhe, Peter A.
<PSahasra@hodgsonruss.com>; Brian C. Mahoney <bmahoney@lippes.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>; Hanft, Gideon
A. <Gideon.Hanft@wilmerhale.com>; David Rudin <David@rudinlaw.com>; Partha Sharma
<psharma@rudinlaw.com>; Timothy Hoover <thoover@hooverdurland.com>; Spencer Durland
<sdurland@hooverdurland.com>; Serena M. Kemnitzer <skemnitzer@lippes.com>; Kirstie A. Means
<kmeans@lippes.com>; Thomas R. Southard <tsouthard@lippes.com>
Subject: RE: Darryl Boyd and John Walker v. City of Buffalo, et al.


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   this is important

Counsel:

I will be holding off on issuing a decision on the pending motions for summary judgment
with respect to both the city and county claims at this time. Please let me know the status
of the potential settlement after the November 26th vote. We can then re-assess at that
point.

Thank you.

Hon. Meredith A. Vacca
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United States District Judge
Western District of New York
Kenneth B. Keating Federal Building
100 State Street, Rochester, New York 14614
Telephone: 585-613-4370

From: Jennifer C. Persico <jpersico@lippes.com>
Sent: Monday, November 18, 2024 2:11 PM
To: Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>; Joel B. Rudin <jbrudin@rudinlaw.com>;
John Lyle <John_Lyle@nywd.uscourts.gov>
Cc: Russ III, Hugh M. <HRuss@hodgsonruss.com>; Sahasrabudhe, Peter A.
<PSahasra@hodgsonruss.com>; Brian C. Mahoney <bmahoney@lippes.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>; Hanft, Gideon
A. <Gideon.Hanft@wilmerhale.com>; David Rudin <David@rudinlaw.com>; Partha Sharma
<psharma@rudinlaw.com>; Timothy Hoover <thoover@hooverdurland.com>; Spencer Durland
<sdurland@hooverdurland.com>; Serena M. Kemnitzer <skemnitzer@lippes.com>; Kirstie A. Means
<kmeans@lippes.com>; Thomas R. Southard <tsouthard@lippes.com>
Subject: RE: Darryl Boyd and John Walker v. City of Buffalo, et al.

CAUTION - EXTERNAL:



Good afternoon, Judge,

I write in response to the suggestion raised in Mr. Rudin’s email of November 12, 2024 that
this Court should decide the pending motion for summary judgment filed by my client, the
County of Erie (the “County”), and not the motion filed by Co-Defendants, the City of
Buffalo defendants (the “City”).

In general, we reject Plaintiffs’ suggestion that this Court should decide the pending
motions outside of its normal course. Rule 56 specifically states that “[t]he court shall
grant summary judgment if the movant shows that there is no genuine dispute as to any
material fact and the movant is entitled to judgment as a matter of law.” Fed Rules Civ Pro
Rule 56 (emphasis added).

Plaintiffs have submitted no authority to support their informal request for a stay of any
pending motion. As a result, we respectfully submit that Plaintiffs’ email request should be
rejected outright.

The Supreme Court described the summary judgment procedure as “an integral part of the
Federal Rules as a whole, which are designed to secure the just, speedy and inexpensive
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determination of every action.” Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986) [1].   And
while Rule 56(d) permits the Court to defer decision on a motion for summary judgment
when facts are unavailable to the nonmovant, no such showing has been or can be made
here.

As a result, we object to Plaintiffs’ efforts to seek an informal stay and circumvent the
procedures outlined in Rule 56. See, e.g., In re Stock Exchanges Options Trading Antitrust
Litig., 171 F Supp 2d 174, 179 (S.D.N.Y. 2001), vacated on other grounds, 317 F.3d 134 (2d
Cir. 2003) (“Nor can plaintiffs avoid the consequences of the Summary Judgment Order
simply by requesting that the Court apply its decision only to the non-settling defendants”);
(cf. Jones v. Unum Life Ins. Co. of America, 486 F.Supp.2d 864 (E.D. Ark. 2007) (parties
agreed to condition settlement of entire matter on vacatur of order denying motion for
summary judgment so court would grant vacatur).

The motions have been fully briefed and are pending adjudication. There is simply no basis
for the Court to refrain from determining them contemporaneously, particularly given
Plaintiffs’ combined response to both motions, which concedes their inherent overlap (see
Dkt. 176), along with the fact the County has cross-claims pending against the City, which
will survive, notwithstanding any potential settlement between the City and Plaintiffs.

Finally, assuming arguendo, that the Court is inclined to stay its determination of the
pending motions, the delay must apply equally to all parties. Besides the foregoing, a stay
directed only to the City’s motion will put the Court in the untenable position of attempting
to decide the County’s motion in a vacuum, notwithstanding Plaintiffs’ joint opposition and
the overlap, and the potential need to inevitably decide the City’s motion. Simply put,
neither the County nor the Court should be forced to proceed in limbo pending the City’s
and Plaintiffs’ ongoing negotiations. Instead, to the extent Plaintiffs seek to delay
resolution of the pending motions, any delay must apply universally to both pending
motions for summary judgment.

As always, I remain available to discuss further at the Court’s convenience and thank Your
Honor for your time and attention to this matter, as well as affording time for the County to
address this issue.

Thank you for your consideration,
Jen
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     Case 1:22-cv-00520-MAV-JJM             Document 383-7          Filed 05/20/25       Page 7 of 24


To: Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>; Joel B. Rudin <jbrudin@rudinlaw.com>;
John Lyle <John_Lyle@nywd.uscourts.gov>
Cc: Russ III, Hugh M. <HRuss@hodgsonruss.com>; Sahasrabudhe, Peter A.
<PSahasra@hodgsonruss.com>; Brian C. Mahoney <bmahoney@lippes.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>; Hanft, Gideon
A. <Gideon.Hanft@wilmerhale.com>; David Rudin <David@rudinlaw.com>; Partha Sharma
<psharma@rudinlaw.com>; Timothy Hoover <thoover@hooverdurland.com>; Spencer Durland
<sdurland@hooverdurland.com>; Serena M. Kemnitzer <skemnitzer@lippes.com>; Kirstie A. Means
<kmeans@lippes.com>; Thomas R. Southard <tsouthard@lippes.com>
Subject: RE: Darryl Boyd and John Walker v. City of Buffalo, et al.

CAUTION - EXTERNAL:



Good Morning Judge,

As far as I know, Mr. Rudin’s email of yesterday is the first the County defendants have
heard of these developments. Not that we presume to tell the Court how to decide
motions pending before it, but we would request that the Court allow us some time to
confer before responding to its inquiry below.

Unfortunately, I am traveling and Mr. Mahoney is tied up in depositions for the next day or
two. Since there appears to be no action on the part of the City until November 26th,
perhaps we could have until Monday to respond.

Thank you for your consideration.

Regards,
Jen



Jennifer C. Persico     ​




Partner and Executive Committee Member
 P




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From: Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>
Sent: Tuesday, November 12, 2024 9:40 AM
To: Joel B. Rudin <jbrudin@rudinlaw.com>; John Lyle <John_Lyle@nywd.uscourts.gov>
Cc: Russ III, Hugh M. <HRuss@hodgsonruss.com>; Sahasrabudhe, Peter A.
<PSahasra@hodgsonruss.com>; Jennifer C. Persico <jpersico@lippes.com>; Brian C. Mahoney
<bmahoney@lippes.com>; Firsenbaum, Ross <Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne
<Ryanne.Perio@wilmerhale.com>; Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; David Rudin
<David@rudinlaw.com>; Partha Sharma <psharma@rudinlaw.com>; Timothy Hoover
<thoover@hooverdurland.com>; Spencer Durland <sdurland@hooverdurland.com>
Subject: RE: Darryl Boyd and John Walker v. City of Buffalo, et al.



Thank you for the update, Mr. Rudin. At this point, unless there is any objection, the Court
will continue to work towards issuing the summary judgment decision with respect to the
County related claims. We will hold off on issuing a decision with respect to the City related
claims given the tentative settlement.

Please keep us apprised of any other developments, concerns, etc.

Thank you.



Hon. Meredith A. Vacca
United States District Judge
Western District of New York
Kenneth B. Keating Federal Building
100 State Street, Rochester, New York 14614
Telephone: 585-613-4370

From: Joel B. Rudin <jbrudin@rudinlaw.com>
Sent: Monday, November 11, 2024 4:20 PM
To: John Lyle <John_Lyle@nywd.uscourts.gov>
Cc: Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>; Russ III, Hugh M.
<HRuss@hodgsonruss.com>; Sahasrabudhe, Peter A. <PSahasra@hodgsonruss.com>; Jennifer C.
Persico <jpersico@lippes.com>; bmahoney@lippes.com; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>; Hanft, Gideon
A. <Gideon.Hanft@wilmerhale.com>; David Rudin <David@rudinlaw.com>; Partha Sharma
<psharma@rudinlaw.com>; Timothy Hoover <thoover@hooverdurland.com>; Spencer Durland
  Case 1:22-cv-00520-MAV-JJM                Document 383-7            Filed 05/20/25    Page 9 of 24


<sdurland@hooverdurland.com>
Subject: RE: Darryl Boyd and John Walker v. City of Buffalo, et al.

CAUTION - EXTERNAL:



Dear Judge Vacca and Mr. Lyle,

On November 8, I emailed to inform the Court of a tentative settlement of Plaintiffs' claims against the
City of Buffalo and City-related defendants reached by the opposing attorneys with the assistance of
the mediator, Michael Brady, anticipating the agreement would be presented to the Common Council
for approval on November 12. I am now informed by the City that the process is a little more
complicated and the final vote to approve will not occur until November 26. In view of that, the settling
parties request that the Court defer resolution of the City's summary judgment motion until we know
on November 26 whether the agreement has been approved. Plaintiffs request that the Court continue
with its decision-making of the County of Erie's motions as Plaintiffs do not wish delay in the City's
approval process to also delay their prosecution of their case against the County. The County’s
attorneys have been informed of the tentative settlement and I’m copying them on this email. Thank
you for your consideration.

Respectfully submitted,

Joel B. Rudin
Law Offices of Joel B. Rudin, P.C.
Carnegie Hall Tower
152 West 57th Street, 8th Fl.
New York, N.Y. 10019
TEL: (212) 752-7600
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E-Mail: jbrudin@rudinlaw.com

Co-Counsel for Plaintiffs




From: John Lyle <John_Lyle@nywd.uscourts.gov>
Sent: Friday, November 08, 2024 5:23 PM
To: Joel B. Rudin <jbrudin@rudinlaw.com>
Cc: Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>; Russ III, Hugh M.
<HRuss@hodgsonruss.com>
Subject: RE: Darryl Boyd and John Walker v. City of Buffalo, et al.

Mr. Rudin,
Case 1:22-cv-00520-MAV-JJM   Document 383-7   Filed 05/20/25   Page 10 of 24
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[1]The Supreme Court has held that “the plain language of Rule 56[a] mandates the entry of summary judgment,
…against a party who fails to make a showing sufficient to establish the existence of an element essential to that
party's case”. Celotex Corp. v Catrett, 477 US 317, 322 (1986)(emphasis added).




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From:                Brian C. Mahoney
To:                  John Lyle; Sahasrabudhe, Peter A.; Joel B. Rudin
Cc:                  gideon.hanft@wilmerhale.com; ross.firsenbaum@wilmerhale.com; trena.riley@wilmerhale.com; David Rudin; Jacob
                     "Coby" Loup; ryanne.perio@wilmerhale.com; sdurland@hooverdurland.com; thoover@hooverdurland.com; Perry,
                     Adam W.; Russ III, Hugh M.; James P. Blenk; Jennifer C. Persico; Kirstie A. Means; Meredith Vacca; Katelyn Popp; Sue
                     M. Evans; Serena M. Kemnitzer
Subject:             RE: scheduling conference for 22-cv-519, 520 (WDNY); Boyd v. City of Buffalo et al, Walker v. City of Buffalo et al
Date:                Friday, October 25, 2024 4:33:31 PM
Attachments:         image004.png
                     image949625.png
                     BCM to Judge Vacca 10.25.24.pdf



Dear Judge Vacca:

Please find attached our letter response to Mr. Rudin’s October 18, 2024 request to the Court.

Please let us know if you have any questions.

Respectfully,
Brian Mahoney


Brian C. Mahoney          ​




Partner

Lippes Mathias LLP




50 Fountain Plaza, Suite 1700
Buffalo, NY 14202‑2216

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From: John Lyle <John_Lyle@nywd.uscourts.gov>
Sent: Friday, October 18, 2024 5:02 PM
To: Sahasrabudhe, Peter A. <PSahasra@hodgsonruss.com>; Joel B. Rudin <jbrudin@rudinlaw.com>
Cc: gideon.hanft@wilmerhale.com; ross.firsenbaum@wilmerhale.com; trena.riley@wilmerhale.com;
David Rudin <David@rudinlaw.com>; Jacob "Coby" Loup <jloup@rudinlaw.com>;
ryanne.perio@wilmerhale.com; sdurland@hooverdurland.com; thoover@hooverdurland.com; Perry,
Adam W. <APerry@hodgsonruss.com>; Russ III, Hugh M. <HRuss@hodgsonruss.com>; Brian C. Mahoney
<bmahoney@lippes.com>; James P. Blenk <jblenk@lippes.com>; Jennifer C. Persico
<jpersico@lippes.com>; Kirstie A. Means <kmeans@lippes.com>; Meredith Vacca
<Meredith_Vacca@nywd.uscourts.gov>; Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>
Subject: RE: scheduling conference for 22-cv-519, 520 (WDNY); Boyd v. City of Buffalo et al, Walker v.
City of Buffalo et al
Case 1:22-cv-00520-MAV-JJM   Document 383-7   Filed 05/20/25   Page 13 of 24
Case 1:22-cv-00520-MAV-JJM   Document 383-7   Filed 05/20/25   Page 14 of 24
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weigh when addressing consolidation. The court must consider the risk of jury confusion, see
Renaissance Nutrition, Inc., v. Jarrett, 2009 WL 147590, at *2 (W.D.N.Y. May 27, 2009) (Schroeder, M.J.),
the risk of prejudice from the jury hearing inadmissible evidence, Falls v. Desert Palace, 2018 WL
11278578 (D. Nev. Mar. 14, 2018), at *9-10, and differences in “damages-related evidence,” Hunter v.
United States, 2021 WL 232129, at *3 (S.D. Ga. Jan. 21, 2021), among other factors. Here, these factors
weigh overwhelmingly against consolidation.
Jury Confusion. A consolidated trial is likely to cause substantial confusion for the jury. One essential
element of Plaintiffs’ Monell claims against the County of Erie is that the County violated each Plaintiff’s
constitutional rights. Both Plaintiffs allege that the County did so by suppressing numerous items of
favorable evidence that the County was required to disclose under Brady v. Maryland. But the Plaintiffs
were tried separately in their criminal cases, by different prosecutors. Each trial record shows different
items of evidence being disclosed at each trial. Meanwhile, the parties dispute whether, and which,
additional items were disclosed off the record at each trial. Thus, at a consolidated civil trial, the jury
would have to keep track of what evidence was (and was not) disclosed in each Plaintiff’s criminal trial in
light of different pre-trial and trial records as well as different testimony by the two different
prosecutors who handled the two cases.

Non-disclosure of various items of Brady evidence is not the only issue that a single factfinder would
need to keep straight when considering two different criminal trials. To establish a constitutional
violation, each Plaintiff must show that the withheld Brady evidence was material to the outcome of his
criminal trial. That issue will require an assessment of whether, had the withheld evidence been
disclosed, there is a reasonable probability that the verdict would have been more favorable. This
complicated assessment requires a comparison of what a criminal jury actually heard with what the
prosecution and defense cases likely would have been with the withheld evidence included. While that
is no easy task to perform in connection with one lengthy criminal trial, the task would be exponentially
more difficult when considering what happened in two different trials and what each of those trials
would have looked like had the evidence not been withheld.

We offer just a few examples from Plaintiffs’ criminal trials to illustrate the potential for juror confusion
inherent in litigating materiality in a consolidated civil trial. At Mr. Boyd’s criminal trial, cooperators
Tyrone Woodruff and Andre Hough gave inculpatory testimony against Mr. Boyd, but the People did not
call the barmaid, Debbie Jeffreys, or the jailhouse snitch, Joseph Tatar. Mr. Boyd’s defense counsel
called Ms. Jeffreys and several other witnesses, and then the prosecution in rebuttal called Detective
Guadagno to testify to statements he claimed Mr. Boyd had made to him that appeared inconsistent and
thus, the prosecution argued, suggested a consciousness of guilt. In his summation and in his
examination of the witnesses, Mr. Boyd’s defense counsel contended that none of the boys were
present during the crime and that Woodruff and Hough had been pressured to lie.

However, at Mr. Walker’s criminal trial, the prosecution called Debbie Jeffreys, creating Rosario and
Giglio obligations for this witness that did not exist at Mr. Boyd’s trial. The prosecution called jailhouse
snitch Tatar to testify to alleged admissions by Mr. Walker, which similarly created the same disclosure
obligations, unlike at Mr. Boyd’s trial, relating to Tatar. On the other hand, at Mr. Walker’s trial, Andre
Hough’s testimony about Mr. Boyd’s alleged admissions was not introduced at all (Hough testified only
about a remark that was allegedly made by someone other than Mr. Walker in both boys’ presence).
While the prosecution called some civilian and police witnesses at both criminal trials, the details of their
testimony on direct and cross did not coincide and thus an analysis of the effect of the nondisclosure of
favorable information is different in relation to each trial. A further difference is that none of Mr. Boyd’s
Case 1:22-cv-00520-MAV-JJM                 Document 383-7            Filed 05/20/25        Page 16 of 24


alibi witnesses were called at Mr. Walker’s trial. And then there was a significant difference in defense
strategy. While Mr. Walker’s counsel did challenge Woodruff’s overall story, counsel’s main defense –
that whatever the other boys did, Mr. Walker did not participate – was different than Mr. Boyd’s
lawyer’s strategy to vigorously challenge the entire case.

Finally, in relation to what occurred at each criminal trial and the evidence about what evidence was
suppressed, a jury will have to determine the issue of causation: whether the prosecutor violated his
Brady obligation on account of the Office’s policy, custom or practice. No matter how carefully the court
charges the jury about what it must find in relation to each Plaintiff’s Brady claims, it would be
extraordinarily difficult for jurors at a consolidated trial to keep straight what the evidence is as to each
Plaintiff’s Brady claims and to apply the law to that evidence. The Plaintiffs deserve their day in court
without the risk that juror confusion will deprive them of a fair consideration of their claims.

A consolidated trial also would make it difficult for the jury to apply the Court’s legal instructions
regarding Plaintiffs’ summation-misconduct claims. These claims require the factfinder to determine
whether the prosecutor made improper comments, whether such comments, in the context of the trial
record, caused Plaintiff to be denied his constitutional right to a fair trial, and whether the prosecutor’s
misconduct was caused by a policy, custom or practice of the Office. Here, there were two different
prosecutors who made different comments at the two trials, each prosecutor will have a different
explanation of his comments in the context of the rest of the trial, and, in relation to the Monell claim,
there must be an individualized evaluation of causation. Keeping the two trials separate when judging
Plaintiffs’ claims, the prosecutors’ explanations, and the causation issue would be nearly an impossible
task for a single civil jury.

Unfair prejudice to Plaintiffs. The jury at a consolidated trial would hear prejudicial evidence against
each Plaintiff that, but for a joint trial, it would not hear. Indeed, the New York state court granted
separate criminal trials in 1977 for exactly this reason: to avoid spillover prejudice to each Plaintiff that
would occur regardless of any “curative” instruction. Consolidation here would unnecessarily build such
prejudice into Plaintiffs’ civil cases.
We turn first to Mr. Boyd. At Mr. Walker’s criminal trial, jailhouse snitch Tatar, in exchange for leniency,
testified that Mr. Walker confessed to the murder of Mr. Crawford. While Mr. Walker will prove that
Tatar’s bargained-for testimony was completely unreliable, Mr. Boyd should not have to suffer any risk
that a jury at a consolidated trial would be influenced against him by Tatar’s testimony. Mr. Boyd would
also be unfairly damaged by inculpatory statements that Mr. Walker made during his parole hearing.
Mr. Walker will testify that, when faced with the Catch-22 that if he continued to truthfully profess his
innocence he would indefinitely prolong his incarceration, he made false statements admitting a crime
he did not commit (and that his humiliation adds to his damages). But Mr. Boyd should not have to risk
that a jury at a joint trial would consider such admissions as evidence that Woodruff’s criminal trial
testimony was true. Further, Mr. Walker will offer expert testimony at his trial explaining why his
criminal trial attorney—unaware of suppressed evidence revealing Woodruff’s entire testimony to be
false—made a strategic judgment to pursue a reasonable doubt defense that could coexist with
Woodruff’s coerced confession. But at a consolidated trial, this would necessitate the jury hearing that
Mr. Walker’s counsel made numerous comments that implied the guilt of the other participants in the
crime that Woodruff named. See, e.g., Trial Tr. 119:5–120:4; 121:22-122:9. This, too, would be unfair to
Mr. Boyd and, no matter how carefully the court instructs the jury, would unfairly burden his right to a
fair trial of his claims.
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Mr. Walker, in turn, would be prejudiced at a consolidated trial by testimony from Mr. Boyd’s criminal
trial. Unlike at Mr. Walker’s criminal trial, Andre Hough testified at Mr. Boyd’s criminal trial that Mr.
Boyd supposedly confessed to him that all the boys, including Mr. Walker, participated in the crime.
Further, at Mr. Boyd’s trial, the prosecution introduced Mr. Boyd’s alleged post-arrest statements,
claiming they were contradictory and false. While Mr. Boyd will testify that the police account of his
statements was itself false, Mr. Walker should not be exposed to this additional evidence that was
precluded at Mr. Walker’s criminal trial and thus is irrelevant to his Brady and summation-misconduct
claims.

Different Damages Claims. A consolidated trial would make it exceedingly difficult for the jury to give
separate consideration to each Plaintiff’s extensive claim of damages. Each Plaintiff will tell his story of
how he was damaged from 1976 through the present. Assuming that there would be separate trials, we
had a single psychologist, Dr. Sanford Drob, evaluate each Plaintiff. At a joint trial, Dr. Drob would have
to testify to each plaintiff’s psychic injuries based upon their prison and post-prison experiences over 48
years. Each plaintiff will testify about his experiences too. Each Plaintiffs’ damages are immense, but a
single trial with a single expert entails the inevitable risk that a jury will consider their experiences by
comparison to one another rather than looking at their individual experiences of wrongful incarceration
independently, or else will confuse the damages evidence. Separate trials would allow separate juries to
arrive at independent assessments as to the appropriate damages for each man.

Prolongation of Trial. A consolidated trial likely would be significantly longer than a single,
unconsolidated trial and would be even more physically taxing on Mr. Boyd than a separate trial would.
A longer trial also would make it more difficult to attract and keep suitable jurors.

For these reasons, we submit that the Court should deny Defendants’ informal suggestion of
consolidation.

Respectfully submitted,

Joel B. Rudin
Co-Counsel for Plaintiffs



From: John Lyle <John_Lyle@nywd.uscourts.gov>
Sent: Thursday, October 10, 2024 8:42 AM
To: Joel B. Rudin <jbrudin@rudinlaw.com>
Cc: gideon.hanft@wilmerhale.com; ross.firsenbaum@wilmerhale.com; trena.riley@wilmerhale.com;
David Rudin <David@rudinlaw.com>; Jacob "Coby" Loup <jloup@rudinlaw.com>;
ryanne.perio@wilmerhale.com; sdurland@hooverdurland.com; thoover@hooverdurland.com;
aperry@hodgsonruss.com; psahasra@hodgsonruss.com; HRuss@hodgsonruss.com;
bmahoney@lippes.com; jblenk@lippes.com; jpersico@lippes.com; kmeans@lippes.com; Meredith
Vacca <Meredith_Vacca@nywd.uscourts.gov>; Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>
Subject: RE: scheduling conference for 22-cv-519, 520 (WDNY); Boyd v. City of Buffalo et al, Walker v.
City of Buffalo et al


Mr. Rudin,
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Case 1:22-cv-00520-MAV-JJM                       Document 383-7               Filed 05/20/25           Page 19 of 24


From: John Lyle <John_Lyle@nywd.uscourts.gov>
Sent: Thursday, September 19, 2024 8:59 AM
To: Joel B. Rudin <jbrudin@rudinlaw.com>
Cc: gideon.hanft@wilmerhale.com; ross.firsenbaum@wilmerhale.com; trena.riley@wilmerhale.com;
David Rudin <David@rudinlaw.com>; Jacob "Coby" Loup <jloup@rudinlaw.com>;
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bmahoney@lippes.com; jblenk@lippes.com; jpersico@lippes.com; kmeans@lippes.com; Meredith
Vacca <Meredith_Vacca@nywd.uscourts.gov>; Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>
Subject: RE: scheduling conference for 22-cv-519, 520 (WDNY); Boyd v. City of Buffalo et al, Walker v.
City of Buffalo et al


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   important

Thank you, all. The Court is also in receipt of Mr. Sahasrabudhe’s letter in response to
Plaintiffs’ request, and will address the issue of case scheduling at the conference
scheduled for both matters on Monday, October 7, 2024 at 10 AM.

Best regards,


                      John Lyle
                      Law Clerk to Judge Meredith A. Vacca
                      Western District of New York
                      Kenneth B. Keating Federal Building
                      100 State Street, Rochester, NY 14614
                      O: 585-613-4372 | FAX: 716-613-4375
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From: Joel B. Rudin <jbrudin@rudinlaw.com>
Sent: Tuesday, September 17, 2024 4:59 PM
To: John Lyle <John_Lyle@nywd.uscourts.gov>
Cc: gideon.hanft@wilmerhale.com; ross.firsenbaum@wilmerhale.com; trena.riley@wilmerhale.com;
David Rudin <David@rudinlaw.com>; Jacob "Coby" Loup <jloup@rudinlaw.com>;
ryanne.perio@wilmerhale.com; sdurland@hooverdurland.com; thoover@hooverdurland.com;
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Vacca <Meredith_Vacca@nywd.uscourts.gov>; Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>
Subject: Re: scheduling conference for 22-cv-519, 520 (WDNY); Boyd v. City of Buffalo et al, Walker v.
City of Buffalo et al

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Dear Mr. Lyle,

All sides are available to be in Rochester October 7 or 8. I hope one of those dates is
convenient for the Court. Thank you.

Best,

Joel Rudin

Sent from my iPhone


        On Sep 17, 2024, at 11:27 AM, John Lyle <John_Lyle@nywd.uscourts.gov> wrote:


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        RE: scheduling conference for 22-cv-519, 520; Boyd v. City of Buffalo et al,
        Walker v. City of Buffalo et al

        Good morning, Counsel.

        The Court is in receipt of Mr. Rudin’s letters requesting a conference to discuss
        a new case schedule in the above-cited matters. Judge Vacca asks that the
        parties confer, and that one of Plaintiffs’ counsel respond to this email with two
        possible dates over the next two to three weeks on which counsel for the
        Plaintiffs and the Defendants can be available for a conference in person in
        Courtroom 2 here at the Keating Federal Building, 100 State Street, Rochester,
        NY 14614.

        Thank you,

        <image001.png>
                             John Lyle
                             Law Clerk to Judge Meredith A. Vacca
                             Western District of New York
                             Kenneth B. Keating Federal Building
                             100 State Street, Rochester, NY 14614
                             O: 585-613-4372 | FAX: 716-613-4375
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